Case 4:20-cv-00980-KPJ Document 58-8 Filed 12/13/21 Page 1 of 2 PageID #: 3005




                     UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF TEXAS
                           SHERMAN DIVISION

MORINVIELE, )                                       Case No. 20-cv-00980
                          )
      Plaintiff, )
                          )
      v.              )
                          )
OVERWATCH )
TECHNOLOGIES, INC. ET )
AL.,                  )
                         )
      Defendants. )



               PLAINTIFF S MOTION TO AMEND COMPLAINT

                                 EXHIBIT H




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Case 4:20-cv-00980-KPJ Document 58-8 Filed 12/13/21 Page 2 of 2 PageID #: 3006
                              CONFIDENTIAL INFORMATION


               Qverwatch Monthly Expenses Commencing on April 1,2020



     Employee/Function             Previous Compensation             Reduced Compensation


 Terry Fokas/CEO              $20,000/month                     $15,000/month

 Liz Bowers/CTO               $15,000/month                     $10,000/month

 Stephanie Fokas/Overwatch    $10,000/month                     $5,000/month
App Project Manager


James Macklin/Director of     $5,000/month                      $4,000/month
 Marketing

 Christine                    $5,400/month                      $5,000/month
 Nicodem/Operations
 Manager


 Christopher Czura/Director   $10,000/month (based on           $5,000/month
 of Clinical Services         average monthly hours invoiced)


Waquas Ali/Principal          $5,400/month                      $5,000/month
Software Engineer

 Do i Yellin                  $9,500/month                      $7,500/month

 Rotem Tzuk                   $10,000/month                     $7,500/month

 Paul Morinville/Eympair      $5,000/month                      $0/month
 Project Manager


 Dan Monaghan/Eympair         $2,500/month                      $0/month
 and Eympact Projects

TOTAL                         $98,300/month                     $64,000
                              +$10,000 (rent & miscellaneous)   + 6,000 (rent & miscellaneous)
                              $108,300                          $70,000
